                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


 In re:                                 Chapter 7

 Raymond P. Edwards,                    Bankruptcy No. 22-06343

                      Debtor.           Hon. Deborah L. Thorne


                           NOTICE OF MOTION
     Please take notice that on Thursday, September 29, 2022, at
9:00 A.M., or as soon thereafter as counsel may be heard, the undersigned
attorneys shall appear before the Honorable Deborah L. Thorne, United
States Bankruptcy Judge for the Northern District of Illinois, and then and
there present the attached Trustee’s Application to Retain Ariane
Holtschlag and the Law Office of William J. Factor, Ltd.,
Retroactive to September 1, 2022, a copy of which is attached hereto
and herewith served upon you.

      This motion will be presented and heard electronically using
Zoom for Government. No personal appearance in court is necessary or
permitted. To appear and be heard on the motion, you must do the
following:

     To appear by video, use this link: https://www.zoomgov.com/. Then
enter the meeting ID and password.

     To appear by telephone, call Zoom for Government at 1-669-254-
5252 or 1-646-828- 7666. Then enter the meeting ID and password.

     Meeting ID and password. The meeting ID for this hearing is 160
9362 1728. The meeting ID can also be found on the judge’s page on the
court’s web site.

     If you object to this motion and want it called on the presentment
date above, you must file a Notice of Objection no later than two (2)
business days before that date. If a Notice of Objection is timely filed, the
motion will be called on the presentment date. If no Notice of Objection is
timely filed, the court may grant the motion in advance without a hearing.




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Dated: September 21, 2022           Deborah K. Ebner, not
                                    individually but as the chapter 7
                                    trustee of the bankruptcy estate of
                                    Raymond P. Edwards

                                    By: /s/ Ariane Holtschlag
                                    One of Her Proposed Attorneys

William J. Factor (6205675)
Ariane Holtschlag (6294327)
FACTORLAW
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                          CERTIFICATE OF SERVICE
       I, Ariane Holtschlag, an attorney, hereby certify that on July 7, 2022,
pursuant to Section II.B.4 of the Administrative Procedures for the Case
Management/Electronic Case Filing System and Fed.R.Civ.P. 5(a), I caused
a copy of the foregoing Notice of Motion and the accompanying Application
to be served electronically through the Court’s Electronic Notice for
Registrants on all persons identified as Registrants on the below Service List
and by US Mail on all persons identified as Non-Registrants on the below
Service List.

                                               /s/ Ariane Holtschlag

                                 SERVICE LIST
Registrants
(Service via ECF)

J Kevin Benjamin                  attorneys@benjaminlaw.com;
                                  firmecf@gmail.com;
                                  benjaminlegalservicesllp@jubileebk.net

Kinnera Bhoopal                   kinnera.bhoopal@mccalla.com;
                                  mccallaecf@ecf.courtdrive.com

Deborah Kanner Ebner              dkebner@debnertrustee.com,
                                  dke@trustesolutions.net;
                                  IL53@ecfcbis.com;
                                  webmaster@debnertrustee.com;
                                  lizd@deborahebnerlaw.com

Patrick S Layng                   USTPRegion11.ES.ECF@usdoj.gov

Non-Registrants
(Service via U.S. Mail)

 Raymond P. Edwards
 5342 N. Cicero Ave.
 Chicago, IL 60630




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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


 In re:                                    Chapter 7

 Raymond P. Edwards,                       Bankruptcy No. 22-06343

                         Debtor.           Hon. Deborah L. Thorne


        TRUSTEE’S APPLICATION TO RETAIN ARIANE HOLTSCHLAG
           AND THE LAW OFFICE OF WILLIAM J. FACTOR, LTD.,
                  RETROACTIVE TO SEPTEMBER 1, 2022

       Pursuant to 11 U.S.C. §§ 105(a), 327(a), 328(a) and Rule 2014 of the
Federal Rules of Bankruptcy Procedure, Deborah K. Ebner, not
individually but solely in her capacity as duly appointed chapter 7 trustee
(the “Trustee”) of the bankruptcy estate (the “Estate”) of Raymond P.
Edwards (the “Debtor”), respectfully requests that this Court enter an
order, substantially in the form of that submitted herewith, authorizing the
Trustee to employ Ariane Holtschlag and the Law Office of William J.
Factor, Ltd. (collectively, “FactorLaw”) as her general bankruptcy counsel,
retroactive to September 1, 2022. In support of this application (the
“Application”), the Trustee relies on the Declaration of Ariane Holtschlag
(the “Holtschlag Declaration”), which is attached hereto as Exhibit 1,
and respectfully states and alleges as follows:

                                   JURISDICTION
       1.      This Court has jurisdiction over this Application pursuant to 28
U.S.C. §§ 157 and 1334, and Local Rule 40.3.1(a) of the United States
District Court for the Northern District of Illinois.

       2.      Venue of the above-captioned case (the “Case”) and of this
Application is proper in this Judicial District pursuant to 28 U.S.C. §§ 1408




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and 1409. This matter is a core proceeding within the meaning of 28 U.S.C.
§§ 157(b)(1) and (b)(2)(A) and (O).

                                  BACKGROUND

       3.      On June 4, 2022 (the “Petition Date”), the Debtor filed a
voluntary petition for relief under chapter 13 of title 11, United States Code
(the “Bankruptcy Code”), thereby initiating the Case.

       4.      On August 15, 2022, the Case was converted to a chapter 7.

       5.      Deborah K. Ebner was thereafter appointed as the Case trustee.

       6.      The Trustee requires the assistance of counsel to represent her
in the Case generally, including, but not limited, investigating the financial
affairs of the Debtor, investigating and liquidating property of the Estate,
reviewing the Debtor’s claimed exemptions, and to the extent necessary,
objecting to the Debtor’s claimed exemptions and claims filed against the
Estate.

                                RELIEF REQUESTED

       7.      The Trustee respectfully requests that the Court authorize her to
employ FactorLaw on the terms and conditions set forth herein and in the
Holtschlag Declaration.

       8.      The predicates for the relief requested herein are 11 U.S.C.
§§ 105(a), 327(a), 328(a), as supported by Rule 2014 of the Federal Rules of
Bankruptcy Procedure.

                                 BASIS FOR RELIEF

       9.      A trustee may employ, with the court’s approval, one or more
attorneys “that do not hold or represent an interest adverse to the Estate,
and that are disinterested persons, to represent or assist the trustee in




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carrying out the trustee’s duties under [the Bankruptcy Code].” 11 U.S.C.
§ 327(a).

       10.     The Trustee seeks to retain FactorLaw as her counsel because (a)
FactorLaw has extensive experience and knowledge in the field of debtor’s
and creditor’s rights and cases under chapter 7 of the Bankruptcy Code and
is experienced in investigating a chapter 7 debtor’s assets and pursuing
recovery of such assets; (b) FactorLaw has experience and knowledge
practicing before this Court, and (c) FactorLaw’s appearance before this
Court for the applications, motions, and other matters in this chapter 7
case will be efficient and cost effective for the Estate, as the hourly rate of
FactorLaw’s associates are substantially lower than the Trustee’s own
hourly rates. The Trustee believes that FactorLaw is both well qualified
and uniquely able to represent her in the Case in a most efficient and
timely manner.

       11.     The Trustee expects that FactorLaw will be called upon to render
professional services, including, but not limited to, the following:

               a.   providing legal advice with respect to the liquidation of the
                    Debtor’s assets and administration of the Estate;

               b.   reviewing documents from the Debtor and third-parties
                    regarding assets and claimed exemptions;

               c.   to the extent necessary, facilitate the liquidation of the
                    Debtor’s assets;

               d.   preparing, on behalf of the Trustee, all necessary
                    applications, motions, objections, adversary proceedings,
                    answers, orders, reports, and other legal papers as required
                    by applicable bankruptcy or non-bankruptcy law, as
                    dictated by the demands of the case, or as required by the




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                    Court, and representing the Trustee in any hearings or
                    proceedings related thereto;

               e.   appearing in Court and protecting the interests of the
                    Trustee and the Estate before the Court; and

               f.   performing all other legal services for the Trustee relating
                    to the recovery of assets that she may deem necessary and
                    proper in this Case.

       12.     As set forth in the Holtschlag Declaration, FactorLaw believes
that it does not hold or represent an interest adverse to the Estate, and
that it is a disinterested person within the meaning of § 327(a).

       13.     Additionally, pursuant to Bankruptcy Rule 2014(a), FactorLaw
does not have any connections with the Debtor, his creditors, the United
States Trustee or any person employed in the office of the United States
Trustee, any other party in interest, or their respective attorneys or
accountants that require disclosure.

       14.     Under the facts as described herein and in the Holtschlag
Declaration, the Trustee believes that retention of FactorLaw satisfies all
of the applicable statutory standards enumerated above.

                                 COMPENSATION

       15.     Section 328(a) of the Bankruptcy Code permits the Trustee,
subject to this Court’s approval, to employ or authorize the employment of
a professional person under Section 327 “on any reasonable terms and
conditions of employment, including … on a contingent fee basis.” 11 U.S.C.
§ 328(a).

       16.     The Trustee proposes to retain FactorLaw on an hourly basis
and seeks approval under Section 328(a) of the Bankruptcy Code of that
arrangement.




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       17.     The normal hourly billing rates for FactorLaw’s attorneys and
legal assistants are as follows:

           Professional                   Title             Hourly Rate
     William J. Factor                  Partner                $400
     Jeffrey Paulsen                    Partner                $400
     Ariane Holtschlag                  Partner                $375
     Isaiah A. Fishman                  Partner                $375
     Justin Storer                      Partner                $375
     Deborah K. Ebner                  Of Counsel              $400
     David Hassel                    Senior Counsel            $400
     Sam Rodgers                       Paralegal               $125
     Danielle Mesikapp              Legal Assistant              $100
       18.     FactorLaw will maintain detailed and contemporaneous records
of time and any actual and necessary expenses incurred in connection with
the rendering of the legal services contemplated herein by category and
nature of the services rendered.

       19.     FactorLaw understands that any and all compensation for legal
services rendered on behalf of the Trustee shall be subject to Court
approval, after notice and hearing, and in accordance with applicable
sections of the Bankruptcy Code, Bankruptcy Rules, and Local Rules and
Procedures. The Trustee requests that all legal fees and related costs
incurred by the Trustee on account of services rendered by FactorLaw in
this case be paid as an administrative expense of the Estate in accordance
with the Bankruptcy Code and any applicable orders entered in this
chapter 7 case.

       20.     Prior to the filing of this Application, the Trustee required that
her counsel perform certain routine services. The Trustee requests that her
retention of FactorLaw be made effective as of September 1, 2022, so that
FactorLaw may recover for such services.




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                                       NOTICE

       21.     Notice of this Application has been given to: (i) the Office of the
United States Trustee; (ii) the Debtor; (iii) the Debtor’s counsel; and (iv)
any person that has requested notice in the Case or that receives notices
through the ECF System with respect to the case.

         WHEREFORE, the Trustee respectfully requests that the Court
enter an order (a) granting the Application; (b) authorizing the Trustee to
employ FactorLaw as her counsel under 11 U.S.C. §§ 327 and 328 on the
terms and subject to the conditions set forth herein and in the Holtschlag
Declaration, retroactive to September 1, 2022; and (c) granting such other
and further relief as this Court may deem just and appropriate.


Dated: September 21, 2022                      Respectfully submitted,

                                              Deborah K. Ebner, not
                                              individually but as the chapter 7
                                              trustee of the bankruptcy estate of
                                              Raymond P. Edwards

                                              By: /s/ Ariane Holtschlag
                                              One of Her Proposed Attorneys

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